          Case 3:13-cv-00889-AC         Document 1       Filed 05/29/13       Page 1 of 4




Clinton L. Tapper, OSB 084883
R. Scott Taylor, OSB No. 74324
Taylor & Tapper
400 E 2nd, Suite 103
Eugene, OR 97401
Ph: 541-485-1511 / fax: 541-246-2424
Scott@taylortapper.com
Clinton@taylortapper.com

                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION

 DEBORAH ROPER and GARY ROPER,                            CASE NO.: 3:13-cv-889

       Plaintiff(s),                                      COMPLAINT

                vs.                                       JURY TRIAL REQUESTED

 AMERICAN FAMILY MUTUAL
 INSURANCE COMPANY,

         Defendant(s).

Deborah and Gary Roper, sister and brother, hereby plaintiffs, allege that, at all times material

hereto, as follows:

                                            PARTIES

1. Plaintiffs live in Portland Oregon and are domiciled in Oregon.

2. Defendant is an insurance corporation authorized to issue insurance and conduct business in

    the State of Oregon, but is foreign carrier with its principal place of business headquartered

    in another state.

                                        JURISDICTION

3. This Court has diversity jurisdiction over the parties pursuant to 28 U.S.C.
COMPLAINT                                                                                     Page 1 of 4
                                                                                         Taylor & Tapper
                                                                                400 E 2nd Ave, Suite 103
                                                                                      Eugene, OR 97401
                                                             Ph: (541) 485 – 1511 / Fax: (541) 264 - 4866
         Case 3:13-cv-00889-AC          Document 1       Filed 05/29/13        Page 2 of 4




   sections 1332 and 2201. The amount in controversy exceeds $75,000 exclusive of costs and

   interest.

                                            VENUE

4. Venue in this District is proper under 28 U.S.C. section 1391 and L.R. 3.4. in Portland

   Oregon. The fire loss occurred in Multnomah County Oregon and the most convenient

   location for trial of this matter is in Portland Oregon.

                                FIRST CLAIM FOR RELIEF

5. Plaintiffs’ were the beneficial owners of certain real property located in Multnomah County,

   Portland Oregon, and commonly referred to as 15310 NE Milton Portland Oregon, hereafter

   the “premises”. Located on this premise was a single family residence lived in by plaintiff

   Deborah Roper and her domestic partner of many years.

6. Plaintiffs had purchased an insurance Home Owners Policy from defendant, hereafter the

   Policy, which was in effect on or about September 21 2012, naming plaintiffs as the insured.

7. On or about September 21 2012, a fire occurred that damaged the dwelling on the premises,

   rendering it uninhabitable, and ruining and destroying the contents therein.

8. Under the terms, conditions, limitations and exceptions contained in the policy, the policy

   provided replacement cost insurance coverage for the structure and the personal property

   located in the dwelling and damaged, plus loss of use, debris removal, plant or shrub losses

   and additional coverage’s under the terms and conditions of the policy from losses due to

   perils such as fire.

9. Plaintiffs have submitted a claim for the damage caused by this fire.




COMPLAINT                                                                                      Page 2 of 4
                                                                                          Taylor & Tapper
                                                                                 400 E 2nd Ave, Suite 103
                                                                                       Eugene, OR 97401
                                                              Ph: (541) 485 – 1511 / Fax: (541) 264 - 4866
         Case 3:13-cv-00889-AC           Document 1      Filed 05/29/13       Page 3 of 4




10. Plaintiffs have done everything on their part under the policy with plaintiffs to be

   performed.

11. Plaintiffs notified an agent of Defendant on September 21, 2012 and again on September 22,

   2012, of the fire loss. Defendant began its investigation of this loss at the burn site

   immediately upon receiving notice.

12. Defendant has failed or refused to participate in the claims process, investigation, payment,

   and other aspects of the insurance claim in good faith. This failure to honor the contract in

   good faith constitutes a breach of the policy.

13. Defendant has failed or refused to comport itself with the requirements of Oregon law for an

   insurance company in the claims process. This failure under Oregon law constitutes a breach

   of the policy.

14. Although defendant has made some payment for lost contents and additional living

   expenses, defendant has failed, refused, delayed and neglected to pay this entire claim which

   constitutes a breach of the Policy.

15. As a result of the breach of contract by defendant, plaintiffs have suffered damages as

   follows:

        a. For loss to the house structure, in an amount not to exceed $320,000;

        b. For loss to personal property, in an amount not to exceed $240,000;

        c. For additional living expenses at the rate not to exceed $4,000 per month from

              March 21 2013 until the dwelling is replaced and damaged contents paid in full;

        d. For debris removal, plant and shrub restoration expenses, in an amount not to

              exceed $25,000;

COMPLAINT                                                                                     Page 3 of 4
                                                                                         Taylor & Tapper
                                                                                400 E 2nd Ave, Suite 103
                                                                                      Eugene, OR 97401
                                                             Ph: (541) 485 – 1511 / Fax: (541) 264 - 4866
         Case 3:13-cv-00889-AC          Document 1      Filed 05/29/13        Page 4 of 4




16. Plaintiffs are to recover prejudgment interest at the legal rate of 9% per annum that has

   accrued on each past due benefit under the policy from September 22 2012 until paid.

17. Plaintiffs have been required to retain the services of an attorney in this matter and should

   be awarded their reasonable attorney fees incurred herein pursuant to ORS 742.061.

      WHEREFORE, Plaintiffs pray that they recover as alleged above and for their costs and

   disbursements incurred herein.

   Dated this 29th day of May 2013.

   /s/ R. Scott Taylor

   __________________________________________
   R. Scott Taylor, Attorneys at Law
   Taylor & Tapper, Attorneys




COMPLAINT                                                                                     Page 4 of 4
                                                                                         Taylor & Tapper
                                                                                400 E 2nd Ave, Suite 103
                                                                                      Eugene, OR 97401
                                                             Ph: (541) 485 – 1511 / Fax: (541) 264 - 4866
